     Case 0:19-cv-61176-RKA Document 1 Entered on FLSD Docket 05/08/2019 Page 1 of 7



                         UNITED STATES DISTRICT COURT
1
                                   FOR THE
2                        SOUTHERN DISTRICT OF FLORIDA
3
      CHRISTOPHER XENOS,         )
4                                )                 Case No.:
               Plaintiff,        )
5                                )                 COMPLAINT AND DEMAND
6
                v.               )                 FOR JURY TRIAL
                                 )
7     ABILITY RECOVERY SERVICES, )
      INC.,                      )                 (Unlawful Debt Collections
8
               Defendant.        )                 Practices)
9                                )
10
                                      COMPLAINT
11

12
            CHRISTOPHER XENOS (“Plaintiff”), by and through his attorneys,
13
      KIMMEL & SILVERMAN, P.C., alleges the following against ABILITY
14

15
      RECOVERY SERVICES, INC. (“Defendant”):

16                                  INTRODUCTION
17
            1.    Plaintiff’s Complaint is based on the Fair Debt Collection Practices
18
      Act, 15 U.S.C. § 1692 et seq. (“FDCPA”) and the Telephone Consumer
19

20    Protection Act, 47 U.S.C. § 227 et seq. (“TCPA”).

21                            JURISDICTION AND VENUE
22
            2.    Jurisdiction of this court arises pursuant to 15 U.S.C. §1692k(d),
23
      which states that such actions may be brought and heard before “any appropriate
24

25    United States district court without regard to the amount in controversy,” and 28


                                             -1-

                                   PLAINTIFF’S COMPLAINT
     Case 0:19-cv-61176-RKA Document 1 Entered on FLSD Docket 05/08/2019 Page 2 of 7



      U.S.C. §1331 grants this court original jurisdiction of all civil actions arising
1

2     under the laws of the United States.
3
            3.      Further, Jurisdiction of this Court arises pursuant to 28 U.S.C. §
4
      1331. See Mims v. Arrow Fin. Services, LLC, 132 S. Ct. 740, 747, 181 L. Ed. 2d
5

6
      881 (2012).

7           4.      Defendant conducts business in the State of Florida, and as such,
8
      personal jurisdiction is established.
9
            5.      Venue is proper pursuant to 28 U.S.C. §1391 (b)(2).
10

11                                             PARTIES

12          6.      Plaintiff is a natural person residing in Tamarac, Florida 33321.
13
            7.      Plaintiff is a “consumer” as that term is defined by 15 U.S.C.
14
      §1692a(3).
15

16          8.      Plaintiff is a “person” as that term is defined by 47 U.S.C. § 153(39).
17          9.       Defendant is a national debt collection company with its corporate
18
      headquarters located at 1 Montage Mtn Rd., Moosic, Pennsylvania 18507.
19
            10.     Defendant collects, and attempts to collect, consumer debts incurred,
20

21          or alleged to have been incurred, for personal, family or household
22
      purposes on behalf of creditors and debt buyers using the U.S. Mail, telephone
23
      and/or internet.
24

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                                               -2-

                                     PLAINTIFF’S COMPLAINT
     Case 0:19-cv-61176-RKA Document 1 Entered on FLSD Docket 05/08/2019 Page 3 of 7



            11.    Defendant is a “debt collector” as that term is defined by 15 U.S.C.
1

2     §1692 a(6), and sought to collect a debt from Plaintiff.
3
            12.    Defendant is a “person” as that term is defined by 47 U.S.C.
4
      §153(39).
5

6
            13.    Defendant acted through its agents, employees, officers, members,

7     directors, heirs, successors, assigns, principals, trustees, sureties, subrogees,
8
      representatives, and insurers.
9

10

11                                  FACTUAL ALLEGATIONS

12          14.    Plaintiff has a cellular telephone number.
13
            15.    Plaintiff has had this cellular telephone number for over one (1) year.
14
            16.    Defendant was attempting to collect an alleged debt from Plaintiff
15

16    that was primarily incurred for personal, family or household purposes.
17          17.    Defendant placed repeated harassing telephone calls to Plaintiff.
18
            18.    When Defendant contacted Plaintiff it used an automated telephone
19
      dialing system and/or pre-recorded voice.
20

21          19.    Plaintiff knew Defendant was using an automated telephone dialing
22
      system and/or pre-recorded voice as Defendant’s calls began with a noticeable
23
      pause or delay before Plaintiff was transferred to a live collector.
24

25



                                                -3-

                                       PLAINTIFF’S COMPLAINT
     Case 0:19-cv-61176-RKA Document 1 Entered on FLSD Docket 05/08/2019 Page 4 of 7



            20.     Desiring to stop these repetitive calls, Plaintiff spoke to Defendant
1

2     soon after the calls began and told it stop calling.
3
            21.    Once Defendant was notified that the calls were unwanted and to
4
      stop, there was no lawful purpose to making additional calls, nor was there any
5

6
      good faith reason to place calls.

7           22.    Further, any continued calls could only have been placed for the
8
      purpose of harassing Plaintiff.
9
            23.    Defendant’s collectors ignored Plaintiff’s request to stop calling and
10

11    continued to call Plaintiff on a repetitive and continuous basis.

12          24.    Defendant’s calls were not made for emergency purposes.
13

14
                               COUNT I
15
           DEFENDANT VIOLATED §1692d and §1692d(5) OF THE FDCPA
16
            25.    A debt collector violates §1692 (d) of the FDCPA by engaging in
17

18    conduct the natural consequence is to harass, oppress, or abuse any person in

19    connection with the collection of a debt.
20
            26.    A debt collector violates §1692 (d)(5) of the FDCPA by causing a
21
      telephone to ring or engaging any person in telephone conversation repeatedly or
22

23    continuously with the intent to annoy, abuse or harass any person at the called

24    number.
25



                                                 -4-

                                        PLAINTIFF’S COMPLAINT
     Case 0:19-cv-61176-RKA Document 1 Entered on FLSD Docket 05/08/2019 Page 5 of 7



            27.    Defendant violated these sections when it placed repeated and
1

2     harassing telephone calls to Plaintiff’s cellular telephone within the one year
3
      period preceding the filing of this Complaint despite Plaintiff’s request to stop
4
      calling.
5

6

7                                COUNT II
                          DEFENDANT VIOLATED THE
8
                    TELEPHONE CONSUMER PROTECTION ACT
9
            28.    Plaintiff incorporates the forgoing paragraphs as though the same
10

11    were set forth at length herein.

12          29.    Defendant initiated multiple automated telephone calls to Plaintiff’s
13
      cellular telephone using a prerecorded voice.
14
            30.    Defendant initiated these automated calls to Plaintiff using an
15

16    automatic telephone dialing system.
17          31.    Defendant’s calls to Plaintiff were not made for emergency purposes.
18
            32.    After Defendant was told to stop calling, Defendant knew or should
19
      have known it did not have consent to call and that any consent it may have
20

21    thought it had to call was revoked, yet Defendant intentionally and knowingly
22
      continued to place autodialed calls to Plaintiff’s cellular telephone.
23

24

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                                               -5-

                                     PLAINTIFF’S COMPLAINT
     Case 0:19-cv-61176-RKA Document 1 Entered on FLSD Docket 05/08/2019 Page 6 of 7



            33.    Defendant’s acts as described above were done with malicious,
1

2     intentional, willful, reckless, wanton and negligent disregard for Plaintiff’s rights
3
      under the law and with the purpose of harassing Plaintiff.
4
            34.    The acts and/or omissions of Defendant were done unfairly,
5

6
      unlawfully, intentionally, deceptively and fraudulently and absent bona fide error,

7     lawful right, legal defense, legal justification or legal excuse.
8
            35.    As a result of the above violations of the TCPA, Plaintiff has suffered
9
      the losses and damages as set forth above entitling Plaintiff to an award of
10

11    statutory, actual and trebles damages.

12

13
                                    PRAYER FOR RELIEF
14
            WHEREFORE, Plaintiff, CHRISTOPHER XENOS, respectfully prays for
15

16    a judgment as follows:
17                  a. All actual damages suffered pursuant to 15 U.S.C. § 1692k(a)(1)
18
                       and 47 U.S.C. §227(b)(3)(A);
19
                    b. Statutory damages of $1,000.00 for each Plaintiff for the violation
20

21                     of the FDCPA pursuant to 15 U.S.C. § 1692k(a)(2)(A);
22
                    c. All reasonable attorneys’ fees, witness fees, court costs and other
23
                       litigation costs, pursuant to 15 U.S.C. § 1693k(a)(3);
24

25
                    d. All actual damages suffered pursuant to 47 U.S.C. § 227(b)(3)(A);


                                                -6-

                                      PLAINTIFF’S COMPLAINT
     Case 0:19-cv-61176-RKA Document 1 Entered on FLSD Docket 05/08/2019 Page 7 of 7



                     e. Statutory damages of $500.00 per violative telephone call pursuant
1

2                       to 47 U.S.C. § 227(b)(3)(B);
3
                     f. Treble damages of $1,500.00 per violative telephone call pursuant
4
                        to 47 U.S.C. §227(b)(3);
5

6
                     g. Injunctive relief pursuant to 47 U.S.C. § 227(b)(3)

7                    h. Any other relief deemed appropriate by this Honorable Court.
8

9
                                DEMAND FOR JURY TRIAL
10

11          PLEASE TAKE NOTICE that Plaintiff, CHRISTOPHER XENOS,

12    demands a jury trial in this case.
13

14
                                              RESPECTFULLY SUBMITTED
15

16    Date: 5/8/19                            By: /s/ Amy L. B. Ginsburg
                                              Amy L. B. Ginsburg, Esq.
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                                      PLAINTIFF’S COMPLAINT
